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                                                individually and on behalf of all others
                                              7 similarly situated
                                              8
                                                                           UNITED STATES DISTRICT COURT
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                                                                      CENTRAL DISTRICT OF CALIFORNIA
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                                                BOB WARD, individually and on              Case No. 2:21-cv-06584-PA-PD
                                             12 behalf of all others similarly situated,
                 Beverly Hills, California
KIESEL LAW LLP




                                                                                           CLASS ACTION
                    Attorneys at Law




                                             13               Plaintiff,
                                             14         v.                                 NOTICE OF VOLUNTARY
                                                                                           DISMISSAL WITHOUT
                                             15 INSTITUTO ESPAÑOL, S.A., a                 PREJUDICE
                                                Corporation doing business as AVENA
                                             16 INSTITUTO ESPAÑOL; MIDWAY
                                             17 IMPORTING, INC., a Corporation; and
                                                DOES 1-10,
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                                                            Defendants.
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                                                                    NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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                                              1         NOTICE IS HEREBY GIVEN that, in light of the Court’s Order of August 18,
                                              2 2021 [Doc. No. 13], which raised salient facts pertinent to this matter, Plaintiff Bob
                                              3 Ward voluntarily dismisses this action pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),
                                              4 without prejudice, with each party to bear its own fees and costs. At this time, no
                                              5 opposing party has served either an answer or a motion for summary judgment in this
                                              6 litigation, warranting the voluntary dismissal of this action per the above cited Federal
                                              7 Rule.
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                                              9 DATED: August 25, 2021                 KIESEL LAW LLP
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                                                                                       By:        /s/ Stephanie M. Taft
                                             12
                 Beverly Hills, California
KIESEL LAW LLP




                                                                                             JEFFREY A. KONCIUS
                    Attorneys at Law




                                             13                                              STEPHANIE M. TAFT
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                                                                                             Attorneys for Plaintiff Bob Ward,
                                             15                                              individually and on behalf of all others
                                             16                                              similarly situated

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                                                                    NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
